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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 In re:                                        §
                                               §
 GALLERIA 2425 Owner, LLC                                         Case No. 23-34815 (JPN)
                                               §
                                               §                  Chapter 11
                  Debtor.                      §
                                               §


            NATIONAL BANK OF KUWAIT’S MOTION FOR ENTRY OF
      ORDER (I) CONDITIONALLY APPROVING DISCLOSURE STATEMENT;
     (II) SCHEDULING A COMBINED DISCLOSURE STATEMENT APPROVAL
     AND PLAN CONFIRMATION HEARING, (III) ESTABLISHING PLAN AND
      DISCLOSURE STATEMENT OBJECTION AND REPLY DEADLINES AND
          RELATED PROCEDURES, (IV) APPROVING THE SOLICITATION
            PROCEDURES, (V) APPROVING THE COMBINED HEARING
                NOTICE, AND (VI) GRANTING RELATED RELIEF

                              NOTICE PURSUANT TO LOCAL RULE 3016-2

            This pleading requests relief that may be adverse to your interests. If no timely
            response is filed within 14 days from the date of service, the relief requested
            herein may be granted without a hearing being held.
            A timely filed response is necessary for a hearing to be held.


TO THE HONORABLE JEFFREY P. NORMAN, UNITED STATES BANKRUPTCY
JUDGE:

          National Bank of Kuwait, S.A.K.P. New York Branch (“NBK”) files this motion (the

“Motion”) to advance a plan proposed by NBK for the liquidation of the Debtor on a fair, yet

expeditious and cost-effective, timeline. The Debtor’s exclusive right to file a plan was terminated

upon the appointment of the Chapter 11 Trustee in this case thus giving NBK the right to file its

liquidation plan, pursue confirmation, and seek approval of a related disclosure statement. See 11

U.S.C. § 1121(c)(1).

          NBK is the Debtor’s senior secured creditor, as well as the likely holder of a significant

unsecured deficiency claim. As described in more detail below, NBK is filing a plan that provides,
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among other things, for (i) the sale of the Debtor’s real property to the highest bidder – as

determined by the Chapter 11 Trustee appointed in this case – through a public auction process,

(ii) the payment of all administrative and priority claims, (iii) a substantial cash distribution to be

made to non-insider or affiliate trade claimants, and (iv) the establishment of a liquidation trust to

evaluate, and if appropriate pursue, affirmative claims for the benefit of unsecured creditors.

                                             RELIEF REQUESTED

         1.       NBK requests entry of an order in the form attached as Exhibit A (the “Proposed

Order”) conditionally approving the Disclosure Statement and: (a) scheduling a combined final

hearing on the adequacy of the Disclosure Statement 1 and confirmation of the Plan (the “Combined

Hearing”); (b) establishing a deadline for objections to the adequacy of the Disclosure Statement

and confirmation of the Plan; (c) establishing a deadline to file a combined pleading in support of

confirmation of the Plan and to file a reply to any objections; (d) approving the procedures for

soliciting votes on the Plan (the “Solicitation Procedures”); (e) approving the form of notice of the

Combined Hearing attached as Exhibit 1 to the Proposed Order; (f) approving the form of ballot

attached as Exhibit 2 to the Proposed Order; (g) approving the forms of notices for: (i) Holders of

Claims that are Unimpaired under the Plan and who are therefore presumed to accept the Plan; and

(ii) Holders of Claims and Interests that are Impaired and are not expected to receive a distribution

under the Plan and who are therefore deemed to reject the Plan (collectively, the “Notices of Non-

Voting Status”) in the form attached as Exhibit 3(A) and Exhibit 3(B) to the Proposed Order; and

(h) granting related relief.




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    Capitalized terms used but not defined in this Motion have the meanings given them in the Chapter 11 Plan of
    Liquidation of the Debtor (the “Plan”) filed contemporaneously herewith.


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       2.      NBK proposes that the Chapter 11 Trustee (the “Solicitation Agent”) solicit votes

to accept or reject the Plan from Holders of Claims in Classes 4, 5(a) and 5(b) (collectively, the

“Voting Classes”). The Voting Classes shall receive copies of a form ballot, the Disclosure

Statement, Plan and notice of the confirmation hearing and deadline to object to the Plan and

Disclosure Statement (collectively, the “Solicitation Package”). Votes will not be solicited from

Holders of Claims or Interests in Classes 1, 2, 3, 6, 7 and 8 (collectively, the “Non-Voting

Classes”), but the Non-Voting Classes will receive notice of their non-voting status.

       3.      In connection with the foregoing and subject to the Court’s availability, the Court

should approve the following dates and deadlines:

           Event                      Date                             Description
  Conditional Approval of    April 25, 2024 at 3:00    Date and time for the hearing at which the
  Disclosure Statement       p.m. (CST)                Court will consider the relief requested in
  Hearing                                              this Motion.
  Voting Record Date         The date on which an      Date for determining (i) which holders of
                             order is entered          Claims in the Voting Classes are entitled
                             approving the             to vote on the Plan and (ii) whether
                             disclosure statement      Claims have been properly assigned or
                             on a conditional basis    transferred such that the assignee can vote
                                                       as the holder of the Claim.
  Solicitation Deadline      Within five (5)           Deadline for distributing Solicitation
  and Combined Hearing       business days after       Package to holders of Claims entitled to
  Notice and Mailing         entry of the order        vote on the Plan; and Date by which the
  Notice of Non-Voting       approving the             Solicitation Agent will serve the
  Status Deadline            disclosure statement      Combined Hearing Notice and mail the
                             on a conditional basis    Notice of Non-Voting Status.




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 Deadline to Object to Claims for     On or before May 27,      Deadline by which NBK or other
 Voting Purposes                      2024 at 5:00 p.m.         parties-in-interest with standing
                                      (CST)                     may object to claims solely for
                                                                voting purposes.
 Voting Deadline                 4:00 p.m. (CST)                Deadline by which all Ballots
                                 within seven (7)               must be properly executed,
                                 business days after the        completed, and delivered so that
                                 Deadline to Object to          they are actually received by the
                                 Claims for Voting              Solicitation Agent.
                                 Purposes
 Plan Supplement Filing Deadline 4:00 p.m. (CST)                Deadline by which NBK must file
                                 within seven (7)               the Plan Supplement.
                                 business days after the
                                 Voting Deadline
 Plan and Disclosure Statement   4:00 p.m. (CST)                Deadline by which objections to
 Objection Deadline              within seven (7)               the Disclosure Statement and Plan
                                 business days after the        must be filed with the Court and
                                 Voting Deadline                served so as to be actually
                                                                received the Objection Notice
                                                                Parties (defined below).
 Deadline for Filing Voting           4:00 p.m. (CST)           Date by which the report
 Report                               within one (1)            tabulating the votes on the Plan
                                      business day after the    shall be filed with the Court.
                                      Plan Supplement
                                      Filing Deadline
 Deadline to File Confirmation        On or before July 10,    Date by which NBK’s brief in
 Brief and Omnibus Reply to           2024 4:00 p.m. (CST)     support of Confirmation and final
 Plan and Disclosure Statement                                 approval of the Disclosure
 Objections                                                    Statement and NBK and any
                                                               parties’ responses to objections to
                                                               the Plan and Disclosure Statement
                                                               must be filed with the Court.
 Combined Hearing                     On or before July 17,    Date and time for the hearing at
                                      2024 (CST), subject to which the Court will consider
                                      the Court’s availability Confirmation of the Plan and
                                                               final approval of the adequacy of
                                                               the Disclosure Statement.


                                    JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this case and this matter pursuant to 28 U.S.C. §§

157 and 1334. This is a core proceeding within the meaning of 28 U.S.C. § 157. Venue is proper

in this district pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory bases for the relief requested



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herein are sections 105, 1123(a), 1125, 1126, and 1128 of title 11 of the United States Code (the

“Bankruptcy Code”), Rules 2002, 3017, 3018, and 3020 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Rule 3016-2 of the Local Rules of the United States

Bankruptcy Court for the Southern District of Texas (“Local Rule”).

                                           BACKGROUND

       5.      On December 5, 2023, the Debtor filed a voluntary petition for relief under Chapter

11 of the Bankruptcy Code. As of the date of hereof, no examiner or official committee of

unsecured creditors has been appointed. On January 31, 2024, the Court entered an order directing

the appointment of a chapter 11 trustee to manage the Debtor’s business and financial affairs. See

ECF No. 99.

       6.      On February 9, 2024, the Court entered an order appointing Christopher R. Murray

as trustee, whose appointment became effective on February 13, 2024 (the “Chapter 11 Trustee”).

See ECF Nos. 116 and 121. Additional factual background about this case and the history between

the Debtor and NBK is set forth in detail in the National Bank of Kuwait, S.A.K.P. New York

Branch’s Motion Pursuant to 11 U.S.C. § 1112(b) to Convert Chapter 11 Case to Chapter 7. See

ECF No. 72.

                                 TERMINATION OF EXCLUSIVITY

       7.      Upon appointment of the Chapter 11 Trustee, the Debtor’s exclusive right to file

and try to confirm a plan of reorganization terminated. As a result, any party in interest, including

a creditor like NBK, may file and prosecute confirmation of a plan. See 11 U.S.C. § 1121(c)(1).

       8.      NBK has contemporaneously filed the Plan and a related Disclosure Statement as

permitted by section 1121(c)(1) of the Bankruptcy Code.




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                                            PLAN SUMMARY

       9.      In accordance with sections 1122, 1123 and 1126 of the Bankruptcy Code, the Plan

classifies Holders of Claims and Interests into certain Classes for all purposes, including with

respect to voting on the Plan as follows:

    Class                  Claim                       Status             Voting Rights
      1            Other Secured Claims              Unimpaired          Deemed to Accept
      2            Other Priority Claims             Unimpaired          Deemed to Accept
      3               NBK Tax Claim                   Impaired           Deemed to Reject
      4             NBK Secured Claim                 Impaired            Entitled to Vote
    5(a)      Trade General Unsecured Claims          Impaired            Entitled to Vote
    5(b)      Other General Unsecured Claims          Impaired            Entitled to Vote
      6                Insider Claims                 Impaired           Deemed to Reject
      7             Subordinated Claims               Impaired           Deemed to Reject
      8                   Interests                   Impaired           Deemed to Reject

       10.     The proposed Plan provides for the sale of the estate’s sole asset, certain real

property and improvements located at 2425 West Loop South, Houston, Texas 77027 (the

“Property”) to NBK, which will act as a stalking horse for the auction of the Property and proceed

by credit bid, or to a qualifying cash buyer, whichever the Chapter 11 Trustee determines has made

the highest or best offer for the Property. See ECF No. 188.

       11.     As described in the Chapter 11 Trustee’s bid procedures motion, the Property will

be marketed by a commercial real estate broker, which will attract competitive bidding and yield

substantial proceeds to pay allowed administrative and priority claims under the Plan, make a

significant cash distribution to trade creditors who are neither insiders or related to the Debtor,

fund the Liquidation Trust to be established under the Plan to enhance recoveries for general

unsecured creditors, and pay NBK its share of the sale proceeds on account of its secured interest

in the Property.

       12.     If NBK is the winning bidder for the Property, the Plan provides that NBK will

advance funds to, among other things, pay allowed administrative and priority claims, fund a


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significant cash distribution to trade creditors who are neither insiders or related to the Debtor, and

provide initial funding for the Liquidation Trust.

                                          BASIS FOR RELIEF

 A.      The Court Should Conditionally Approve the Disclosure Statement

             (i) Approval of the Disclosure Statement on a Conditional and Final Basis

       13.      Local Rule 3016-2 permits a plan proponent to seek conditional approval of a

disclosure statement. In the absence of objection filed within 14 days of the filing of this Motion,

the Court may approve the Disclosure Statement on a conditional basis without a hearing. Id.

Even though conditional approval of the Disclosure Statement does not limit a party’s ability to

objection to the adequacy of the Disclosure Statement at a final hearing, given the contentious

nature of this case, NBK is not proceeding on “negative notice,” notwithstanding the Local Rule.

Instead, NBK has asked that this Motion be set for hearing. It will explore taking the Motion off

the hearing list if no objection is filed within 14 days. NBK thinks that this process advances the

likelihood that plan confirmation will proceed expeditiously and efficiently.

             (ii) The “Adequate Information” Standard for Disclosure Statement Approval

       14.      Section 1125(a)(1) of the Bankruptcy Code defines “adequate information” as:

                [i]nformation of a kind, and in sufficient detail, as far as is
                reasonably practicable in light of the nature and history of the debtor
                and the condition of the debtor’s books and records, including a
                discussion of the potential material Federal tax consequences of the
                plan to the debtor, any successor to the debtor, and a hypothetical
                investor typical of the holders of claims or interests in the case, that
                would enable such a hypothetical investor of the relevant class to
                make an informed judgment about the plan.

       15.      “Adequate information” is a flexible standard to be interpreted by the Court based

on the facts and circumstances of a particular case. See H.R. Rep. 95-595, at 409 (1977), reprinted

in 1978 U.S.C.C.A.N. 5963, 6365 (“Precisely what constitutes adequate information in any


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particular instance will develop on a case-by-case basis. Courts will take a practical approach as

to what is necessary under the circumstances of each case . . . .”).

       16.     At the Combined Hearing, NBK will demonstrate that the Disclosure Statement

contains “adequate information” for Holders of Claims in the Voting Classes to make an informed

decision on whether to vote to accept or reject the Plan. The Disclosure Statement contains the

types of information that courts consider when addressing the “adequate information” standard,

including: (i) the history of the Debtor and its relationship with NBK, (ii) the terms of the Plan,

including the treatment of each class of creditors and interest holders, (iii) alternatives to the Plan,

including liquidation under chapter 7, (iv) the conditions to and means of implementing the Plan,

including provisions related the Liquidation Trust, and (v) the feasibility of the Plan.

        17.     Based on the foregoing, NBK submits and will demonstrate at the Combined

Hearing that the Disclosure Statement complies with section 1125 of the Bankruptcy Code because

it ensures that the Voting Classes receive adequate information.

        18.     In the interim, however, there should be no doubt that the Disclosure Statement

contains “adequate information” to support its conditional approval.

  B.      The Disclosure Statement Provides Sufficient Notice of Injunction, Release, and
          Exculpation Provisions in the Plan

       19.     Bankruptcy Rule 3016(c) requires that, if a plan provides for an injunction against

conduct not otherwise enjoined under the Bankruptcy Code, the plan and disclosure statement must

describe, in specific and conspicuous language, the acts to be enjoined and the entities subject to

the injunction. Fed. R. Bankr. P. 3016(c). Part IV of the Disclosure Statement describes in detail

the persons and entities subject to an injunction under Article IX of the Plan and the acts that they

are enjoined from pursuing. Further, the language in the Disclosure Statement and Plan related to




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Debtor releases, exculpation, and injunction is in bold font, making it conspicuous to anyone who

reads it.

        20.     Although the Plan releases only Estate Claims, it also contains a so-called “gate-

keeping” injunction to ensure that if someone pursues a claim against a Released or Exculpated

Party, the claim being pursued is colorable and not an Estate Claim. This provision is highlighted

in the Disclosure Statement.

        21.     Accordingly, NBK submits that the Disclosure Statement complies with

Bankruptcy Rule 3016(c).

  C.        The Court Should Enter an Order Scheduling a Combined Hearing

        22.     Section 105(d)(2)(B)(vi) of the Bankruptcy Code allows the Court to issue an order

that combines the hearing on approval of the disclosure statement and confirmation of the plan.

        23.     NBK seeks to establish a process to reach confirmation in an efficient manner given

the estate’s limited resources, by, among other things, combining the final hearing for approval of

the Disclosure Statement with the confirmation hearing.

        24.     A Combined Hearing is a cost-effective way to address all disclosure statement and

confirmation related issues and enable the Plan to be confirmed and consummated in a timely

manner, conserve judicial resources by holding a single hearing rather than separate hearings and

reduce administrative expenses and maximize value for all creditors.

        25.     NBK, therefore, requests that the Court schedule the Combined Hearing on the

adequacy of the Disclosure Statement and confirmation of the Plan on or before July 17, 2024,

subject to the Court’s availability.




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 D.        The Court Should Approve the Deadlines and Procedures for Objecting to
           Approval of the Disclosure Statement and Confirmation of the Plan

         26.   Bankruptcy Rule 3017(a) authorizes the Court to fix a time for filing objections to

the adequacy of the Disclosure Statement; Bankruptcy Rule 3020(b)(1) authorizes the Court to fix

a time for filing objections to the Plan; and Bankruptcy Rule 2002(b) requires 28 days’ notice of

such deadlines. See Fed. R. Bankr. P. 3017(a) (requiring 28 days’ notice of the disclosure

statement hearing); see also Fed. R. Bankr. P. 2002(b).

         27.   NBK requests that the Court set the Plan and Disclosure Statement Objection

Deadline as the date set forth in the chart above. This date is not less than 28 days following the

proposed deadline for service of the Combined Hearing Notice, as required by the Bankruptcy

Rules.

         28.   NBK also requests that the Court direct how parties-in-interest may object to the

Disclosure Statement and confirmation of the Plan. See Fed. R. Bankr. P. 3017(a); 3020(b)(1)

(providing that objections to a disclosure statement and plan confirmation must be filed and served

“by an earlier date as the court may fix” and “within a time fixed by the court”). NBK proposes

that objections to confirmation of the Plan or final approval of the Disclosure Statement must (i)

be in writing; (ii) state the name and address of the objecting party and the nature and amount of

the claim or equity interest of such party; (iii) conform to the Bankruptcy Rules, the Local Rules,

and any orders of the Court; (iv) state, with particularity, the legal and factual basis for the

objection and, if practicable, a proposed modification to the Plan (or related materials) that would

resolve such objection; and (iv) be filed, together with proof of service, with the Court and served

upon (a) counsel for NBK; (b) the Chapter 11 Trustee; (c) counsel to the Chapter 11 Trustee; (d)

the Office of the U.S. Trustee for Region 7; and (f) counsel to the Debtor, so as to be actually




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received by or before the Plan and Disclosure Statement Objection Deadline. These requirements

will be set forth in the Combined Hearing Notice.

        29.      NBK requests that it and other parties-in-interest be authorized to file and serve

replies to any confirmation or Disclosure Statement objections, and briefs in support of

Confirmation (which may be combined in one filing, with each portion of the combined filing

subject to the applicable page limitations (as may be extended with permission of the Court)), by

the date set forth in the chart above.

  E.      Approval of the Solicitation Process

        30.      Bankruptcy Rule 3017(d) sets forth the materials that must be provided to holders

of claims and interests for the purpose of soliciting their votes to accept or reject a chapter 11 plan.

As explained in detail below, the proposed Solicitation Procedures comply with the Bankruptcy

Code and the Bankruptcy Rules, and on that basis, NBK seeks approval of the Solicitation

Procedures, the ballots, and the procedures used for tabulating votes to accept or reject the Plan.

              (i) Voting Record Date

        31.      Bankruptcy Rule 3018(a) provides that the record date for determining the holders

of claims and interests entitled to receive the materials specified in Bankruptcy Rule 3017(d),

including ballots, is the “date the order approving the disclosure statement is entered or another

date fixed by the court, for cause, after notice and a hearing.” See Fed. R. Bankr. P. 3018(a).

        32.      NBK requests that the Voting Record Date be set as the date set forth in the chart

above. The Voting Record Date will apply to all creditors and interest holders.

              (i) Voting Deadline

        33.      Bankruptcy Rule 3017(c) provides that “the court shall fix a time within which the

holders of claims and interests may accept or reject the plan.” Fed. R. Bankr. P. 3017(c). NBK

requests that the Court set the deadline by which all ballots must be received by the Solicitation


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Agent (the “Voting Deadline”) as the date set forth in the chart above. The Voting Deadline

provides interested parties with more than enough time to review and make a decision with respect

to the Plan and Disclosure Statement and cast their ballots.

             (ii) The Ballots, Solicitation Package, Additional Materials, and Transmittal

       34.      Bankruptcy Rule 3017(d) requires transmittal of a form of ballot, which

substantially conforms to Official Form No. 314, only to “creditors and equity security holders

entitled to vote on the plan.” Bankruptcy Rule 3018(c) provides that “[a]n acceptance or rejection

shall be in writing, identify the plan or plans accepted or rejected, be signed by the creditor or

equity holder or an authorized agent, and conform to the appropriate Official Form.”

       35.      The form of ballot attached as Exhibit 2 to the Proposed Order is derived from

Official Form No. 314 but has been modified to conform to the specifics of the Plan. The

Solicitation Package will be distributed by the Solicitation Agent to the Voting Classes by the date

set forth in the chart above.

             (iii) Vote Tabulation

       36.      NBK proposes that original executed ballots be returned to the Solicitation Agent,

and that the Solicitation Agent be authorized to reject any ballot that is sent via facsimile or any

other electronic means. Any ballot that is timely received or supersedes a prior ballot and is

received before the Voting Deadline, that contains sufficient information to identify the claimant

and that is cast as an acceptance or rejection of the Plan will be counted.

       37.      The following ballots will not be counted or considered in determining whether the

Plan has been accepted or rejected: (a) ballots received after the Voting Deadline; (b) illegible

ballots or ballots that contain insufficient information to permit the identification of the claimant;

(c) ballots cast by a person or entity that does not hold a claim in the class for which the vote is

cast; (d) timely ballots received that are cast in a manner that indicates neither an acceptance nor


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rejection of the Plan or indicates both an acceptance and rejection of the Plan; (e) any unsigned

ballot; (f) any ballot that is electronically submitted; and (g) withdrawn ballots.

        38.      These voting tabulation procedures are consistent with Bankruptcy Code section

1126(c) and Bankruptcy Rule 3018(a).

  F.      Requirements for Mailing Solicitation Package

              (i) Deadline for Mailing Solicitation Package or Notice of Non-Voting Status

        39.      NBK proposes that Solicitation Package or Notices of Non-Voting Status, as

applicable, be sent by first-class mail on the date set forth in the chart above to creditors and interest

holders at their addresses set forth in the Debtor’s Schedules or in any notice of appearance filed

in this case. This date is not less than 28 days before the proposed date for the final hearing on the

Disclosure Statement and confirmation of the Plan and the Plan and Disclosure Statement

Objection Deadline, as required by the Bankruptcy Rules.

              (ii) Waiver of Certain Solicitation Package Mailing Requirements

        40.      The Court should waive the requirement to mail the Solicitation Package to Holders

of Claims and Interests in the Non-Voting Classes because such a mailing would be an unnecessary

expense that adds no benefit to the confirmation process. See Fed. R. Bankr. P. 3017(d) (requiring

transmission of a court-approved disclosure statement to, inter alia, classes of unimpaired creditors

and equity security holders unless the court orders otherwise). Holders of Other Secured Claims

(Class 1) and Other Priority Claims (Class 2) are unimpaired under the Plan and, therefore,

conclusively presumed to accept the Plan pursuant to section 1126(f) of the Bankruptcy Code.

Holders of the NBK Tax Claim (Class 3), Insider Claims (Class 6), Subordinated Claims (Class 7)

and Interests in the Debtor (Class 8) are impaired under the Plan and, therefore, deemed not to

accept the Plan pursuant to section 1126(g) of the Bankruptcy Code.




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        41.       Rather than mail the Solicitation Package to members of the Non-Voting Classes,

NBK proposes that they be sent a Notice of Non-Voting Status, substantially in the form attached

as Exhibits 3(A) and 3(B) to the Proposed Order, by first-class mail. The Notices of Non-Voting

Status will advise the recipient of the filing of the Plan and Disclosure Statement and that the

recipient is either deemed to accept the Plan because it is unimpaired or that it is deemed to reject

the Plan because it will not receive anything under the Plan.

        42.      The Notice of Non-Voting Status also will direct the recipient to the Solicitation

Agent if it wants a copy of the Solicitation Package without a ballot. The recipients of a Notice of

Non-Voting Status also shall receive a copy of the notice of the Combined Hearing, setting forth

the deadline to object to final approval of the Disclosure Statement and the Plan and the

confirmation hearing date. In combination, the form of Notice of Non-Voting Status and the notice

for the Combine Hearing complies with the requirements of Bankruptcy Rule 3017(d) for relieving

the Solicitation Agent of sending full Solicitation Packages to certain classes of creditors and

interests.

              (iii) Procedures for Returned Mail

        43.      Notice of this Motion, which is being provided to all known creditors and interest

holders based on the Debtor’s Schedules and to parties who have requested notice in this case, may

be returned as undeliverable. If so, and to avoid additional expense, the Solicitation Agent should

be excused from mailing Solicitation Packages and Notices of Non-Voting Status to addresses

from which the Solicitation Agent received notice of this Motion as undeliverable, unless the

Solicitation Agent is provided with a new mailing address in advance of the Voting Record Date.

        44.       Further, the Solicitation Agent should not be obligated to conduct any additional

research for updated addresses based on undeliverable Solicitation Packages and Non-Voting

Status Notices.


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       G. Approval of the Form and Manner of the Combined Hearing Notice

       45.     In accordance with Bankruptcy Rules 2002 and 3017(d), NBK requests approval of

the proposed Combined Hearing Notice. The proposed Combined Hearing Notice: (a) provides a

brief summary of the Plan; (b) discloses the date and time of the Combined Hearing; (c) and

discloses the date and time of the Objection Deadline and the procedures for objecting to the

Disclosure Statement and the Plan. The Combined Hearing Notice will be served upon creditors

and interest holders identified in the Debtor’s Schedules (as well as parties requesting notice in

this case). NBK proposed that the Combined Hearing Notice be sent together with the Solicitation

Package by the date set forth in the chart above.

                                              NOTICE

       46.     Notice of this Motion has been provided to the following parties and their counsel:

(a) the Office of the United States Truste for Region 7; (b) counsel to the Chapter 11 Trustee; (c)

counsel to Naissance Galleria, LLC; (c) counsel to the Debtor; (d) any party that has requested

notice pursuant to Bankruptcy Rule 2002; and (f) all creditors and interest holders, and executory

contract counterparties, identified in the Debtor’s Schedules. NBK submits that no other or further

notice is required.




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                                          CONCLUSION

       WHEREFORE, NBK requests that this Court enter the Proposed Order granting the relief

requested herein and granting such other and further relief as the Court may deem just and proper.


DATED: April 10, 2024                     PILLSBURY WINTHROP SHAW PITTMAN LLP

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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that on April 10, 2024, a true and correct copy of this document
was served via the Court’s CM/ECF system on the Chapter 11 Trustee, the Debtor’s proposed
counsel of record and all others who are deemed to have consented to ECF electronic service, and
also by mailing, first class, postage prepaid, to each of the parties on the attached service list.


                                                /s/ Charles C. Conrad
                                                   Charles C. Conrad




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